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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 22-9094-GW-MARx                                                Date     September 15, 2023
 Title             Moog, Inc. v. Skyryse, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                                None Present                           N/A
                 Deputy Clerk                            Court Reporter / Recorder                  Tape No.
                Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                         None Present                                             None Present
 PROCEEDINGS:                 IN CHAMBERS - COURT’S RESPONSE TO JOINT REPORT
                              REGARDING MEET AND CONFER ON SEARCH TERMS AND REID
                              RAITHEL’S LAPTOP SET FORTH IN THE COURT’S ORDER AT
                              DKT. 611


Attached hereto is the Court’s Response to Joint Report Regarding Meet and Confer on Search Terms
and Reid Raithel’s Laptop Set Forth in the Court’s Order at Dkt. 611.




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                                                                  Initials of Preparer   JG
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   Moog Inc. v. Skyryse, Inc. et al; Case No. 2:22-cv-09094-GW-(MARx)
   Court’s Response to Joint Report Regarding Meet and Confer on Search Terms and Reid Raithel’s
   Laptop Set Forth in the Court’s Order at Dkt. 611


   I.    Background
          On June 30, 2023, the Court issued its Final Ruling on Plaintiff/Counterdefendant Moog
   Inc.’s (“Moog”) Motion to Enforce Compliance with the March 11, 2022 Stipulated TRO (Dkt.
   25), and for Monetary and Adverse Inference Sanctions for Contempt and Spoliation. See Final
   Ruling on Plaintiff’s Motion to Enforce Compliance, Docket No. 564. Among other things, the
   Court ordered Defendant/Counterclaimant Skyryse, Inc. (“Skyryse”) to produce complete forensic
   images of Lori Bird and Reid Raithel’s Skyryse-issued laptops. See id. at 11. In addition, the
   Court ordered Moog and Skyryse to meet and confer regarding search terms to run across
   Skyryse’s Polarion Repository, Git Repository, and Google Drive Account folders. See id.
          On August 11, 2023, the parties submitted a joint report regarding three outstanding issues:
   (1) the forensic image of Mr. Raithel’s laptop; (2) the searchability (or lack thereof) of metadata
   within the Google Drive Account; and (3) Moog’s list of 437 proposed search terms. See Docket
   No. 601. The Court held a hearing on August 24, 2023 to discuss these issues. See Docket No.
   611. Prior to the hearing, the Court issued its thoughts on these unresolved disputes. See id.
   Following the hearing, the Court ordered the parties to meet and confer and attempt to “resolve
   the [Reid Raithel] computer and search term issues.” Id. The Court set a status conference for
   September 18, 2023, and ordered the parties to file a joint status report by September 14, 2023.
   Id. The parties submitted a joint report regarding their meet and confer efforts to resolve the above
   issues on September 14, 2023. See Joint Report Regarding Meet and Confer on Search Terms and
   Reid Raithel’s Laptop Set Forth in the Court’s Order at Dkt. 611 (“September 14 Joint Report”),
   Docket No. 630.
   II.   Discussion
          A.      Reid Raithel’s Laptop
          Per the September 14 Joint Report, the parties have reached an agreement on Mr. Raithel’s
   laptop. See September 14 Joint Report at 4-5. Skyryse will deliver Mr. Raithel’s laptop to iDS by
   September 15, 2023 “for the limited purpose of having iDS create either a complete forensic image
   (if it is able to do so) or extract all of the logical files and folders from the laptop to a forensic
   image format, to the extent it is able to do so.” See id. Therefore, at this point, the Court will not


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   order any further relief related to Mr. Raithel’s laptop.
          B.      Google Drive Account
          Next, at the August 24 hearing, the parties discussed the challenges of searching metadata
   within Skyryse’s Google Drive Account. See Docket No. 611. Since the hearing, Skyryse and its
   e-discovery and forensics vendor, FTI, have arrived at an alternative solution whereby “FTI has
   collected log files that identify documents in Google Drive that have been created, modified,
   viewed, or accessed by individuals with Google Drive accounts.” September 14 Joint Report at 6.
   The parties “have agreed that Skyryse will collect the documents identified in the logs for an
   agreed-upon list of individuals to allow for those documents, including their metadata, to be
   searched.” Id. Skyryse then agreed to “run the agreed list of search terms across all these
   documents and their metadata and, assuming the resulting number of hits is reasonable, will
   perform a relevance and privilege review of the hits.” Id. at 3; see also Ex. B at 8-10. Given the
   size of the data, FTI completed the collection of documents from the Google Drive log files on
   September 11 and began exporting and processing the data to Relativity, a document review
   platform. September 14 Joint Report at 7. However, the processing will not be complete until
   September 15 at the earliest. Id. Thereafter, FTI will run the search terms across the data. Id.
          Accordingly, because the parties have found a solution that will enable Skyryse to search
   documents, including their metadata, collected from the Google Drive log files, the Court will not
   order any further relief related to searching metadata on Skyryse’s Google Drive Account.
          C.      Search Terms
          Based on the Court’s review of the September 14 Joint Report, only one issue remains: the
   search terms that Skyryse will use to search the Google Drive documents exported to Relativity.
   See id. at 6. According to Moog, it has agreed to (1) withdraw the search term “Platform” from
   the Git and Polarion repositories, (2) withdraw the search terms “IO_” and “API_” from all
   repositories, and (3) narrow the search terms “Git” and “Jira” across all repositories. Id. at 3.
   Skyryse asserts that “[b]ased on [its] search of its entire Google Drive, Moog’s remaining terms
   still returned an unreasonably burdensome more than 84,000 documents across Google Drive and
   Git.” Id. at 6. Nevertheless, Skyryse “proposed to table the search terms dispute until the
   documents identified in the Google Drive log files could be exported into Relativity and searched”
   because “it is possible that the same set of search terms will yield fewer documents that need to be
   reviewed in Relativity,” given that the subset of documents on the log files is smaller than the


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   number of documents in the entire Google Drive Account. Id. “Therefore, Skyryse proposed that
   once FTI completed exporting these documents into Relativity it would re-run both Moog’s and
   Skyryse’s proposed sets of search terms against those documents and the documents in the Git
   repositories and provide updated hit counts that both sides could evaluate.” Id. at 6-7.
          The Court would find this approach to be reasonable. Therefore, the Court would order
   the following:
                   Skyryse shall provide an updated list of search term hits to Moog by September
                    25, 2023;
                   The parties shall meet and confer about those search term hit counts and attempt
                    to resolve this last remaining issue; and
                   Should any outstanding issues on certain search terms remain, the parties will file
                    a final joint report by October 2, 2023, setting forth their respective positions.
                    Based on the parties’ joint report, the Court will set a hearing, if necessary.
   III. Conclusion
          Based on the foregoing discussion, the parties should come prepared to discuss these issues
   and proposed solutions at the September 18, 2023 hearing.




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